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 1                                                                          Hon. Richard A. Jones
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                      AT SEATTLE
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10
      UNITED STATES OF AMERICA,                                 NO. CR21-180 RAJ
11
                              Plaintiff,
12
                                                                DISCOVERY PROTECTIVE ORDER
13
                         v.
14
      DANIEL LEMAY RICE,
15
      TAYLOR LEMAY RICE
16
                              Defendants.
17
18         This matter, having come to the Court’s attention on the Stipulation for Entry of a
19 Discovery Protective Order submitted by the United States of America and Defendant
20 Daniel Lemay Rice, and the Court, having considered the motion, and being fully advised
21 in this matter, hereby enters the following PROTECTIVE ORDER:
22         1.       Protected Material
23         The following documents and materials are deemed Protected Material. The
24 United States will make available copies of the Protected Materials, including those filed
25 under seal, to defense counsel to comply with the government’s discovery obligations.
26 Possession of copies of the Protected Materials is limited to the attorneys of record, and
27 ///
28 ///

     DISCOVERY PROTECTIVE ORDER - 1                                           UNITED STATES ATTORNEY
                                                                             700 STEWART STREET, SUITE 5220
     United States v. Daniel Lemay Rice/Taylor Lemay Rice CR21-180 RAJ
                                                                                   SEATTLE, WA 98101
                                                                                     (206) 553-7970
                Case 2:21-cr-00180-RAJ Document 25 Filed 11/22/21 Page 2 of 3




 1 investigators, paralegals, law clerks, experts, and assistants for the attorneys of record
 2 (hereinafter collectively referred to as members of the defense team). This category of
 3 Protected Materials will be marked and labeled as “Protected Material”:
 4                  a.      All personal identifying information related to witnesses and the
 5 victims.
 6         2.       Scope of Review of Protected Material
 7         The Government agrees that it would provide the defense with an unredacted
 8 version and a redacted version that removes the information identified above. The parties
 9 agree that the defense team may provide the redacted version to the defendant, and may
10 review the unredacted version with the defendant in the presence of a defense team
11 member. The defense agrees that will not provide a paper copy of the unredacted version
12 to the defendant.
13         3.       Parties’ Reciprocal Discovery Obligations
14         Nothing in this order should be construed as imposing any discovery obligations
15 on the government or the defendant that are different from those imposed by case law and
16 Rule 16 of the Federal Rules of Criminal Procedure, and the Local Criminal Rules.
17         4.       Filing of Protected Material
18         Any Protected Material that is filed with the Court in connection with pre-trial
19 motions, trial, sentencing, or other matter before this Court, shall be filed under seal and
20 shall remain sealed until otherwise ordered by this Court. This does not entitle either
21 party to seal their filings as a matter of course. The parties are required to comply in all
22 respects to the relevant local and federal rules of criminal procedure pertaining to the
23 sealing of court documents.
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     DISCOVERY PROTECTIVE ORDER - 2                                         UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
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                                                                                   (206) 553-7970
                Case 2:21-cr-00180-RAJ Document 25 Filed 11/22/21 Page 3 of 3




1          5.       Non-termination
2          The provisions of this Order shall not terminate at the conclusion of this
3 prosecution.
4
5          DATED this 22nd day of November, 2021.
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                                                      A
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                                                    RICHARD A. JONES
9                                                   United States District Judge
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     DISCOVERY PROTECTIVE ORDER - 3                                       UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Daniel Lemay Rice/Taylor Lemay Rice CR21-180 RAJ
                                                                               SEATTLE, WA 98101
                                                                                 (206) 553-7970
